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                                           May 9, 2016


VIA ECF

Hon. Paul A. Engelmayer
United States District Court
Southern District of New York
40 Foley Square, Room 2201
New York, NY 10007

Re: Blair v. Alstom S.A. et al., No. 1:16-cv-03391-PAE

Dear Judge Engelmayer:

        Our firm represents the Plaintiff, Scott Blair, in the above referenced matter. This case is
a patent infringement action pursuant to 35 U.S.C. 271 et seq. I write this letter to advise the
Court that in completing the Civil Cover Sheet’s nature of suit section, we inadvertently checked
box 890 “Other Statutory Actions” instead of the relevant 830 “Patent” box. This information is
provided to assist the Court with the docketing and case management of this case. Please advise
if the Court needs any other additional information.


                                      Respectfully submitted,

                                      s/ Darius Keyhani
                                      Darius Keyhani
